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                                         APPENDIX A
       Below is a list of cases related to the MOVEit incident pending in federal courts of which

I, M. Anderson Berry of Clayeo C. Arnold, APC, appear in as counsel, grouped by jurisdiction

where applicable:


 Federal Case Name                                Initial Judge’s Contact Information
 Applegate et al. v. Corebridge Financial, Inc.   Hon. Alfred H. Bennett
 et al., No. 4:23-cv-03227 (S.D. TX)
 Clancy v. The Global Atlantic Financial          Hon. Lewis J. Liman
 Group, LLC, No. 1:23-cv-07975-LJL (S.D.          (212) 805-0226
 NY)                                              LimanNYSDChambers@nysd.uscourts.gov


 Washington v. Hartford Life and Accident         Hon. Michael P. Shea
 Insurance Company, No. 3:23-cv-01164-MPS         (860) 240-3136
 (D. CT)
 Jones v. Milliman Solutions, LLC, No. 2:23-      Hon. Lauren J. King
 cv-01246-LK (W.D. WA)                            (206) 370-8790
                                                   kingorders@wawd.uscourts.gov
 Collins v. Pension Benefit Information, LLC,     Hon. Katherine M. Menendez
 et al., No. 0:23-cv-02045-KMM-DTS (D.            (651) 848-1870
 MN)                                              menendez_chambers@mnd.uscourts.gov

                                                  Hon. David T. Schultz
                                                  (612) 664-5460
                                                  schultz_chambers@mnd.uscourts.gov
 Zafaan v. Umpqua Bank, No. 3:23-cv-05884-        Hon. David G. Estudillo
 DGE (W.D WA)                                     (253) 882-3840
                                                  estudilloorders@wawd.uscourts.gov
 Elizondo v. Umpqua Bank, No. 4:23-cv-            Hon. Kandis A. Westmore
 05441-KAW (N.D. Cal.) (MDL No. 3083)             kawpo@cand.uscourts.gov

 Jani v. Patelco Credit Union, No. 3:23-cv-       Hon. Thomas S. Hixon
 05054-TSH (N.D. Cal.) (MDL No. 3083)             (415) 522-4708
                                                  tshcrd@cand.uscourts.gov
